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 1                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 2                                        AT SEATTLE
 3
     UNITED STATES OF AMERICA,                )
 4                                            )
                      Plaintiff,              )       CASE NO.        CR07-264-RSM
 5                                            )
              v.                              )
 6                                            )
   BETTY JEAN KENNEDY,                        )       DETENTION ORDER
 7                                            )
                      Defendant.              )
 8                                            )
   _______________________________ )
 9
   Offenses charged:
10
              Count 1:         Bank Fraud, in violation of Title 18, U.S.C., Sections 1344 and 2;
11
              Count 16:        Social Security Fraud, in violation of Title 42, U.S.C., Section
12
                               408(a)(7)(B).
13
   Date of Detention Hearing: October 22, 2007
14
              The Court conducted a contested detention hearing pursuant to Title 18 U.S.C. §
15
   3142(f). The defendant’s bond was revoked, and based upon the factual findings and statement
16
   of reasons for detention hereafter set forth, finds that no condition or combination of conditions
17
   which the defendant can meet will reasonably assure the appearance of the defendant as required
18
   and the safety of any other person and the community. The Government was represented by
19
   Vincent Lombardi. The defendant was represented by Scott Engelhard.
20
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
21
               (1) Due to the nature of her evasion at the time of her arrest that is, hiding under a
22
                   tarp and under steps after being told the U.S. Marshals were there, release of the
23
                   defendant would an unreasonable risk of flight.
24
               (2) The defendant has a history of failing to appear.
25
               (3) The defendant was not interviewed by Pretrial Services.
26


     DETENTION ORDER
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 1 Thus, there is no condition or combination of conditions that would reasonably assure future
 2 court appearances.
 3             It is therefore ORDERED:
 4             (l) Defendant shall be detained pending trial and committed to the custody of the
 5                 Attorney General for confinement in a correctional facility separate, to the extent
 6                 practicable, from persons awaiting or serving sentences, or being held in custody
 7                 pending appeal;
 8             (2) Defendant shall be afforded reasonable opportunity for private consultation with
 9                 counsel;
10             (3) On order of a court of the United States or on request of an attorney for the
11                 Government, the person in charge of the correctional facility in which Defendant
12                 is confined shall deliver the defendant to a United States Marshal for the purpose
13                 of an appearance in connection with a court proceeding; and
14             (4) The clerk shall direct copies of this order to counsel for the United States, to
15                 counsel for the defendant, to the United States Marshal, and to the United States
16                 Pretrial Services Officer.
17             DATED this 23rd day of October, 2007.
18



                                                             A
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20
                                                             MONICA J. BENTON
21
                                                             United States Magistrate Judge
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     DETENTION ORDER
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